       Case 1:17-cv-00563-CL            Document 1-1           Filed 04/10/17             Page 1 of 17

                                                                         Service of Process
                                                                         Transmittal
                                                                         03/10/2017
                                                                         CT Log Number 530835611
TO:      Donna Gaudet, Incoming Legal Supervisor
         Cigna Corporation
         900 Cottage Grove Rd, C38
         Bloomfield, CT 06002-2920

RE:      Process Served in Delaware

FOR:     Cigna Corporation  (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                   ROBERT THORNLEY, personal representative of the estate of RICHARD THORNLEY,
                                   JR., Pltf. vs. CIGNA CORPORATION, etc. and LIFE INSURANCE COMPANY OF NORTH
                                   AMERICA, etc., Dfts.
DOCUMENT(S) SERVED:                Summons, Notice(s), Complaint, Attachment(s)
COURT/AGENCY:                      Jackson County Circuit Court, MS
                                   Case # 17CV09639
NATURE OF ACTION:                  Defendant has breached policy in bad faith, entitling plaintiff to relief and damages
                                   for breach of contract
ON WHOM PROCESS WAS SERVED:        The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:          By Process Server on 03/10/2017 at 15:20
JURISDICTION SERVED :              Delaware
APPEARANCE OR ANSWER DUE:          Within 30 days after service of this summons upon you
ATTORNEY(S) / SENDER(S):           David B. Paradis
                                   BROPHY SCHMOR LLP
                                   201 W. Main, 5th Floor
                                   PO Box 128
                                   Medford, OR 97504
                                   (541) 772-7123
ACTION ITEMS:                      CT has retained the current log, Retain Date: 03/10/2017, Expected Purge Date:
                                   03/15/2017

                                   Image SOP

                                   Email Notification,  Incoming Legal  LegalandPublicAffairs-IncomingLegal@cigna.com

SIGNED:                            The Corporation Trust Company
ADDRESS:                           1209 N Orange St
                                   Wilmington, DE 19801-1120
TELEPHONE:                         302-658-7581




                                                                        Page 1 of  1 / AR
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.




                                                                                                 Exhibit 1 - Page 1
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                                                          with the original and that it is an wad
 1                                                             omplete copy thereof.
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 2
                                                           of attorneys for     \
 3
 4   IN THE CIRCUIT COURT OF THE STATE OF OREGON FOR JACKSON COUNTY

 5
     ROBERT THORNLEY, personal                        Case No.: 17CV09639
 6   representative of the estate of RICHARD
     THORNLEY, JR.,                                   SUMMONS
 7
                                   Plaintiff
 8         V.
 9  CIGNA CORPORATION, a Delaware
        ora lot
10 —eorp—r-TEIFEINSORA      —NCE
    COMPANY OF NORTH AMERICA, a
11 Pennsylvania corporation,
12                                Defendants.

13              TO: CIGNA CORPORATION
14
                IN THE NAME OF THE STATE OF OREGON: You are hereby required to appear
15
     and defend the Complaint filed against you in the above-entitled case within thirty (30)
16
17   days from the date of the service of this Summons upon you; and if you fail to do so, the

18   Plaintiff will apply to the court for the relief demanded in the Complaint.
19
                DATED this 7th day of March 2017.
20
                                                      David B. Paradis, OSB #853016
21                                                    Jeremy J. Karns, OSB #164144
22                                                    BROPHY SCHMOR LLP
                                                      Of Attorneys for Plaintiff
23                                                    201 W. Main, 5th Floor
                                                      PO Box 128, Medford, OR 97504
24
                                                      P: (541) 772-7123 / F: (541) 772-7249
25                                                    E:dparadis@brophylegal.com
     BROPHY SCHMOR LLP
26
         P0 128
       Medford, OR 97501



      SUMMONS -1



                                                                                    Exhibit 1 - Page 2
        Case 1:17-cv-00563-CL                 Document 1-1            Filed 04/10/17          Page 3 of 17




 1                                               NOTICE TO DEFENDANT:
                                             READ THESE PAPERS CAREFULLY!
 2
               You must "appear" in this case or the other side will win automatically. To "appear" you must file with the
 3   court a legal document called a "motion" or "answer." The "motion" or "answer" must be given to the court clerk or
     administrator within 30 days along with the required filing fee. It must be in proper form and have proof of service on
 4   the plaintiff's attorney or, if the plaintiff does not have an attorney, proof of service on the plaintiff.

 5              If you have questions, you should see an attorney immediately.

 6
             If you need help in finding an attorney, you may contact the Oregon State Bar's Lawyer Referral
     Service online at www.oreoonstatebar.orq or by calling (503) 684-3763 (in the Portland metropolitan area) or
 7
     toll-free elsewhere in Oregon at (800) 452-7636.
 8

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     BROPHY SCHMOR LIP
26      Attoniry, I-4V
         PO Box 122
       Medford, OR 97501



       SUMMONS -2



                                                                                                   Exhibit 1 - Page 3
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                                            3/3/2017 2:52:13 PM
                                                 17CV09639




 1
 2
 3
 4   IN THE CIRCUIT COURT OF THE STATE OF OREGON FOR JACKSON COUNTY
 5
     ROBERT THORNLEY, personal                               Case No.:
 6   representative of the estate of RICHARD
     THORNLEY, JR.,
 7
                                                             COMPLAINT
                                     Plaintiff               (Breach of Contract, Estoppel)
 8
 9         V.
                                                             Prayer Amount: $168,000
10   CIGNA CORPORATION, a Delaware                           Fee authority: ORS 21.160(1)(c)
     corporation, LIFE INSURANCE                             Filing Fee: $531
11   COMPANY OF NORTH AMERICA, a
     Pennsylvania corporation,
12                                                           Not subject to mandatory arbitration
                                     Defendants.
13
                Plaintiff alleges:
14
15                                                     1.
16              Plaintiff, Robert Thornley, is an individual residing in in Jackson County,
17
     Oregon. Plaintiff is the brother and personal representative of the estate of decedent,
18
     Richard Thornley, Jr.
19
20                                                     2.

21              On information and belief, defendant CIGNA Corporation (hereinafter
22
     "CIGNA") is a Delaware corporation with headquarters in Connecticut conducting
23
     business in the State of Oregon. On information and belief, defendant Life Insurance
24
25
     BROPHY SCHMOR LLP
26      Altonzgr Lar
         PO Box 128
       Medford, OR 97501



      COMPLAINT - 1



                                                                                  Exhibit 1 - Page 4
            Case 1:17-cv-00563-CL               Document 1-1    Filed 04/10/17   Page 5 of 17




     Company of North America is a subsidiary of defendant CIGNA and a Pennsylvania
 1
 2   Corporation conducting business in the State of Oregon

 3                                           FIRST CLAIM FOR RELIEF
 4                                               (Breach of Contract)

 5                                                         3.
 6                  In August of 2015, defendants, or one of them, issued a $168,000 Life Insurance
 7
     Policy to Richard Thornley, Jr.. A true copy of the policy is attached hereto as Exhibit 1
 8
 9   and incorporated herein by reference. Prior to issuing the policy, defendant's authorized

10   agent represented to Richard Thornley, Jr., in writing, that he could convert a group
11   policy he held to the aforementioned individual policy with coverage of $168,000. Said
12
     letter stated in part that:
13
                                "You may convert $168,000 of your Voluntary Life
14
                                Insurance if you wish to continue it. A Conversion
15                              Application Form is' enclosed. Please complete and return
                                the Conversion Application Form along with the initial
16                              premium payment within 15 days from the date of this
17                              letter." (Emphasis added.)

18                                                         4.
19
                   On or about November 4, 2015, Richard Thornley, Jr. accepted defendants' offer
20
     and completed the application. Decedent submitted the same with an initial premium
21
22   payment of $2,293.

23   ///
24
     ///
25
26   BROPHY SCHMOR LLP
            Aitorrio, a La I,
             PO Box 128
           Medford, OR 97301



       COMPLAINT - 2



                                                                                     Exhibit 1 - Page 5
        Case 1:17-cv-00563-CL          Document 1-1      Filed 04/10/17     Page 6 of 17




 1
 2              Defendants issued an independent whole life insurance policy to decedent for

 3   $168,000 in coverage. The policy was effective August 3, 2015. The beneficiary of the
 4
     policy was listed as the estate of decedent. Decedent paid premiums and performed all of
 5
     his obligations otherwise required under the insurance contract until his death in 2016.
 6
 7
 8             After decedent's death, plaintiff submitted a claim for the face value of
 9
     decedent's insurance policy of $168,000. On or about June 24, 2016, defendants refused
10
     to issue the full value of the policy, and instead issued a check to decedent's estate in the
11
12   amount of $56,000.

13
14
               Defendants breached their obligations under the whole life insurance policy
15
     issued to decedent by failing to pay plaintiff for the full-face value of $168,000 for the
16
17   policy. By reason of this default, defendant is entitled to a judgment against defendants

18   for the sum of $168,000 and prejudgment interest thereon at the rate of nine percent
19
     (9%) per annum from June 24, 2016, until paid.
20
21
22             Plaintiff is entitled to recover attorney's fees under ORS 742.061.

23
24
25
26   BROPHY SCHMOR LLP
        AtionAgs dLiar
         PO Elux 1213
       Medford, OR 97501



      COMPLAINT -3



                                                                                Exhibit 1 - Page 6
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                WHEREFORE, plaintiff prays for the entry of a judgment in favor of plaintiff
 1
 2   and against defendants for the sum of $168,000, plus interest at the rate of nine percent

 3   (9%) per annum from June 24, 2016, until paid, plus the attorney's fees, costs, prevailing
 4
     party fees and disbursements incurred herein by plaintiff.
 5
 6
 7              DATED this 3rd day of March 2017.

 8
 9
                                               /s/ David B. Paradis
10                                             David B. Paradis, OSB #853016
                                               Jeremy J. Karns, OSB #164144
11                                             BROPHY SCHMOR LLP
12                                             Of Attorneys for Plaintiff
                                               201 W. Main, 5th Floor
13                                             PO Box 128, Medford, OR 97504
                                               P: (541) 772-7123 / F: (541) 772-7249
14                                             E:dparadis@brophylegal.corn
15                                                ikarns@brophylegal.com
                                                Trial Attorney: David B. Paradis
16
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25
26   BROPHY SCHMOR LLP
         Aflomys of law
          PO Box 128
       NIcdford, OR 97501



      COMPLAINT - 4



                                                                            Exhibit 1 - Page 7
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     RICHARD R THORNLEY
EMBER: 060060174
ENT:          $168,000.00
01 INTEREST RATE: 6.00000%
1




                                                           Life Insurance Company of North America ("we," 'us,"
                                                           "our" and "company") promises to pay the Face
                                                           Amount to the Beneficiary upon receipt at our
                                                           Administrative Office of due proof of the insured's
    Whole Life Insurance payable in event                  death. All benefits will be payable subject to the
    of death. Premiums payable for life.                   policy provisions. The Owner ( "you," "your" ) is the
    Nonparticipating - no dividends.                       Insured unless another person is named in the
    Schedule of Benefits and Premiums,                     appiication or later becomes the Owner as allowed by
    and the Premium Class, are shown in                    this policy.
    Section 1, Policy Specifications.
                                                           Signed for us at Philadelphia, Pennsylvania on the
                                                           Date of Issue.




                                                           Attest:
                                                                          01)2,,,tciez

                                                           Countersigned:                                -


LIFE INSURANCE COMPANY                                     NOTICE OF YOUR RIGHT TO
OF NORTH AMERICA                                           EXAMINE POLICY FOR 30 DAYS

 ADMINISTRATIVE OFFICE                                     It is important to us that you are satisfied with this
 P.O. BOX 152501                                           policy and that it meets the insurance goals you
 IRVING, TEXAS 75015-2501                                  planned for it. If you are not satisfied, you may return
                                                           the policy to. us or the agent from whom you
                                                           purchased it within thirty days after it is delivered to
                                                           you and receive a full refund of any premiums you
                                                           have paid.



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                                                                                         EXHIBIT 1, Page 1 of 10
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                                         -2-
                            1. POLICY SPECIFICATIONS



    INSURED: RICHARD R THORNLEY                  MALE     AGE 61

   POLICY NUMBER: 060060174                      EFFECTIVE DATE: AUG 3, 2015

   FACE AMOUNT:     $168,000.00                  DATE OF ISSUE:       AUG 3, 2015

   POLICY LOAN INTEREST RATE: 6.00000%           PREMIUM CLASS:       STANDARD


                         SCHEDULE OF BENEFITS AND PREMIUMS
   THE PREMIUMS FOR EACH BENEFIT BELOW ARE PAYABLE FOR THE PERIOD FROM THE
   EFFECTIVE DATE TO THE DATE STATED, OR FOR THE NUMBER OF POLICY YEARS
   STATED, OR AS OTHERWISE STATED OR UNTIL THE PRIOR DEATH OF THE INSURED.


    BENEFITS                          PREMIUM                      PAYABLE

     WHOLE LIFE INSURANCE           $9,172.00                       LIFE




  ANNUAL, SEMI-ANNUAL AND QUARTERLY RATES ARE MULTIPLES OF MONTHLY RATES.




LM-19092A (2001 CSO MORTALITY)
                                                                       EXHIBIT 1, Page 2 of 10
                                                                      Exhibit 1 - Page 9
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                                         -3-
                             2. TABLE OF VALUES                                 str.
     THIS TABLE LISTS THE VARIOUS GUARANTEED VALUES AVAILABLE TO YOU IN YOUR
   POLICY.   YOU WILL FIND A COMPLETE EXPLANATION FOR EACH OF THOSE OPTIONS
   IN SECTIONS 7 AND 8.

   INSURED: RICHARD R THORNLEY                    MALE :       AGE 61
  POLICY NUMBER: 060060174                        FACE AMOUNT:      $168,000.00
  COVERAGE: WHOLE LIFE INSURANCE
  END OF                            REDUCED
  POLICY        CASH OR             PAID-UP           EXTENDED TERM INSURANCE
   YEAR        LOAN VALUE           INSURANCE              YEARS       DAYS

    1               $0.                  $0.                  0                  0
    2               $0.                  $0.                  0                  0
    3           $4,032.              $9,240.                  1                266
    4           $8,064.             $17,808.                  3                 40
    5          $12,264.             $26,208.                  4                116
    6          $16,464.             $34,104.                  5                112
    7          $20,832.             $41,832.                  6                 45
    8          $25,200.             $49,224.                  6                279
    9          $29,568.             $56,112.                  7                 95
   10          $34,104.             $62,832.                  7                245
   11          $38,640.             $69,216.                  7                353
   12          $43,176.             $75,264.                  8                 65
   13          $47,712.             $80,976.                  8                114
   14          $52,248.             $86,352.                  8                141
   15          $56,784.             $91,560.                  8                150
   16          $61,320.             $96,432.                  8                145
   17          $65,856.            $101,136.                  8                127
   18          $70,224.            $105,504.                  8                 93
   19          $74,592.            $109,536.                  8                 51
   20          $78,792.            $113,232.                  7                361




LM-19092A (2001 CSO MORTALITY)
                                                                        EXHIBIT 1, Page 3 of 10
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                                3. GENERAL PROVISIONS

The Contract

This is your policy. We issued it in consideration of your application and your payment of
premiums. This policy and the application, a copy of which is attached to it, make up the entire
contract. We agree not to use any statements other than those made in the application in
challenging a claim or attempting to avoid liability under this policy. The statements made in
the application will be treated as representations and not as warranties.

Incontestability

This policy will be incontestable, unless you do not pay the premium, after it has been in force
during the lifetime of the Insured for two years from its Date of Issue, except for any rider
which has a separate incontestability clause. This means that we cannot use any misstatement
to challenge a claim or avoid liability after that time.

Change of Provisions

No agent or other person except our President, a Vice President, or our Secretary has authority
to bind us, to extend the time in which you can pay your premiums or to agree to change this
policy.

Misstatement of Age

If the Insured's age is misstated, we will adjust any proceeds payable to the amounts which the
premiums paid would have purchased at the correct age.

                                      4. EXCLUSIONS

Suicide Exclusion

If the Insured commits suicide, while sane or insane, within two years from the Date of Issue,
we will limit our payment to a refund of premiums paid, less any Indebtedness (money owed
the Company).

                          5. OWNERSHIP AND BENEFICIARY

Ownership

This policy belongs to you, The Owner ("you," "your") is the Insured unless otherwise
designated in the application or unless changed as provided under the Change of Ownership or
Beneficiary provision. Unless you provide otherwise, you may exercise all rights and privileges
granted by this policy during the Insured's lifetime.

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6. PREMIUMS

Premium

The Effective Date is the date from which premium due dates, policy years and policy
anniversaries are determined. The first premium is due on the Effective Date. To keep this
policy in force during the Insured's lifetime, you must pay each premium for as long as is shown
in the Policy Specifications. You may pay premiums under any mode of payment at the
applicable premium rate for the method of payment requested, subject to our approval. All
premiums, after the first, must be paid by the due date to us at our Administrative Office. Any
premium paid for insurance beyond the month in which the Insured dies will be refunded.

Grace Period

All premiums are payable by the due date. You do have 31 days after the due date to pay each
premium (except the first). If you do not pay the premium within this time, your policy will
lapse and all its benefits will end, unless the premium is paid under the Automatic Premium
Loan provision. However, policy benefits may be continued under one of the options which are
available if you quit paying premiums (see Section 7). If the Insured dies during the grace
period, we will deduct one month's premium from the benefits.

Reinstatement

If your policy lapses because you did not pay a premium, we will reinstate it if you ask us to,
unless you have surrendered it for its Cash Value. We will reinstate your policy on four
conditions:
          Your written request is received at our Administrative Office within five years of
          the due date of the first premium which you did not pay.
          You show us that the Insured is still insurable according to our normal rules.
          You pay all overdue premiums plus 6% compound interest on those premiums; and
          You repay, or agree to continue in effect, any loan made to you under this policy
          before it lapsed and also pay any interest due on that loan.

                7. CASH VALUE AND PAID-UP INSURANCE OPTIONS

You may surrender, or turn in, this policy at any time in return for its Cash Value less any
Indebtedness. You may request instead, within 60 days after the date your premium was due, to
have any one of the Paid-Up Insurance Options take effect instead of paying the premium due.

If you do not choose an opinion within 60 days after the date your premium was due, or if the
Insured dies after the 31-day grace period without having chosen an option, the Extended Term
Insurance Option will automatically take effect if this policy is in the standard premium class.
Otherwise, the Reduced Paid-Up Insurance Option will automatically take effect.

If your insurance is continued under one of the Paid-Up Insurance Options, it will not include
any benefits other than the Face Amount of this policy. No additional benefits in any riders
attached to the policy are included in the Paid-Up Insurance Options.

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Values for years not shown in the Table of Values are available on request and will be
calculated on the same basis as those shown. During any policy year the amount of cash value
and paid-up insurance and the period of extended insurance will be calculated with due
allowance for the lapse of time and the payment of any fractional premiums. The cash value at
any time of any paid-up or extended insurance will be the reserve at that time on that insurance,
except that within 31 days after a policy anniversary it will not be less than the cash value on
that anniversary.

The cash value and paid-up insurance benefits of this policy are not less than the minimum
values or benefits required by the law of the state in which this policy is delivered. A detailed
statement of the method used for computing the benefits is on file with the insurance
supervisory officials of the state in which this policy is delivered.

                                     8. POLICY LOANS

Cash Loans

You may make a loan against this policy by requesting from us in writing the amount that you
wish to borrow. You may borrow up to the amount of Cash Value available. The Cash Value
available on a premium due date, or during a grace period, or on a policy anniversary date if the
policy is on a Paid-Up Insurance Option, is the Cash Value of the policy less any indebtedness.

Indebtedness

Indebtedness means that you owe money including any interest because of a loan on this policy.
Any Indebtedness at time of settlement will reduce the proceeds. Indebtedness may be repaid in
whole or in part at any time before the policy matures. However, if you do not pay a premium
within the grace period, any outstanding Indebtedness can be repaid only if the policy is
reinstated. If at any time Indebtedness equals or exceeds the policy's value, the policy will
terminate. We will give 31 days notice to you and any assignee. It will be mailed to your last
known address and to the last known address of any assignee.

Automatic Premium Loan

You may request on the application or by writing to us at our Administrative Office that the
Automatic Premium Loan provision be used to pay premiums. If this provision is used and
your policy has enough Cash Value available, any premium you have not paid by the end of the
31-day grace period will be paid by an Automatic Premium Loan.

When two consecutive premiums have been paid by Automatic Premium Loans, the applicable
Paid-Up insurance option will automatically take effect at the next premium due date.

The Cash Value available at any other time is the amount which, together with loan interest,
will equal the Cash Value available on the next premium due date or the next policy anniversary
date if the policy is on a Paid-Up Insurance Option.




LM-19092a (continued)                       -8-


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9. CHANGE OF PLAN

You may exchange this policy for another on a different plan if we approve it and you meet all
requirements and make all necessary payments. You may also exchange it for another policy on
the same plan for a lesser amount.

                               10. SETTLEMENT OPTIONS

The policy proceeds payable at the death of the Insured will be paid in one sum or will be
applied in whole, or in part, to any Settlement Option elected from the settlement options we are
then offering. You may elect a Settlement Option while the Insured is alive. You may revoke
or change your choice at any time before the Insured's death. The beneficiary may elect a
Settlement Option after the Insured's death. Any such choice must be in writing in a form
acceptable to us.




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Endorsement


This Endorsement is added to and made part of your policy as of its effective date. It is subject
to all of the policy provisions that do not conflict with it.

I.     The following paragraph is added to the Incontestability provision of the General
Provisions Section.

       The incontestability period will begin on the Date of Issue of any Group Life
       Insurance Certificate that contained a Conversion Privilege pursuant to which
       this policy was issued. We may use only statements contained in the application
       for the group insurance certificate to contest the amount of life insurance converted
       to this policy. Any increase in the amount of life insurance as well as any
       supplemental benefits not included in your group certificate may be contested for
       two years from this policy's Date of Issue.

2.     The following paragraph is added to the Suicide Exclusion provision of the General
Provisions Section.

       The two-year period to which the Suicide Exclusion applies will begin on the Date
       of Issue of any Group Life Insurance Certificate that contained a Conversion
       Privilege pursuant to which this policy was issued. If the amount of life insurance
       provided by this policy exceeds the amount converted, or if this policy includes
       supplemental benefits not included in the group certificate, we may refund
       premiums and not pay benefits for the excess amount or supplemental benefit, in
       the event the Insured commits suicide within two years from the Date of Issue of
       this policy.



                             LIFE INSURANCE COMPANY OF NORTH AMERICA


                                     01.frt,
                                        Matt Manders, President




LM-19090(c)




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                                                                              Exhibit 1 - Page 15
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                                                           0 () ock, 0 1-7
  Life Insurance Company of North America

 Application for Conversion of Group Life Insurance                                                                                         Cigna.(10
 Each insured must complete a separate Application for Conversion of Group Life Insurance (copies of this form are            C
 acceptable). The following information must be completed by the insured or the owner of this coverage if coverage was
 previously assigned.
           -----                  ...----)  .
 Full Name 1 Y ALA- l'A\e k,)        \S l(          y10:1                           R_                                    5Lv.).-
                                                                                                          Lf)c,-.3 - :31C,1-13
              (Last)                       (First)                                                   (.,)
                                                                                                (Social Security Number)

 Address .-120
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                                                                                                                                       /-
                                                                                                                                            (Zip Code)
                                                  (City)

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 Date of BirthC..)     2L - L\
                     Month/Day/Year
                                         Gender: Female 0 Male fi


 Phone Number - Day            I           rj-3                      Phone Number - Evening             :.)`-1 1—                  —         J
 COMPLETE THE NEXT LINE FOR CONVERSION OF EMPLOYEE COVERAGE ONLY


     Employee Last day worked In'            C.-)            Were you disabled on your Coverage End Date? ,5Lyes 0 No

 Amount of Coverage you wish to convert $                  Ci.)
                                                              )   , CCO

 How shall premiums be payable: 0 ANNUALLY 0 SEMI-ANNUALLY                                          VoUARTERLY (default)

Please indicate if you would like information on Monthly Check-O-Matic: alYes 0 No
     Note: Your initial quarterly premium payment must be received before Monthly Check-O-Matiereari become effective.
                                                                                           .......

I elect the Automatic Premium Loan Provision:          rYes         0 No
                                                                                            /          k-"(
Amount of Payment submitted with this application (minimum is quarterly) $

Have you applied for: (check all that apply)

     0 Waiver of Premium                                          Application Date:

     o   Accelerated Benefit/Terminal Illness Benefit             Application Date:



Beneficiary Information — You must specify a beneficiary(ies) by completing the section(s) below
 Primary Beneficiary Name, Address, Phone #                       Percentage          Social Security #                 Date of Birth         Relationship
                                                                  Must equal 100%                                       Month/Day/Year
                                                                                                N
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                                           J                                                                                                                 .

 Contingent Beneficiary Name, Address, Phone #                    Percentage          Social Security #                 Date of Birth         Relationship
                                                                  Must equal 100%                                       Month/Day/Year




 If you need additional space for your beneficiaries — sign, date, and attach a separate sheet of paper using the above format.
The total percentage for each type of Beneficiary (Primary or Contingent) must equal 100%.


 Community Property Laws - If you are married, reside in a community property state (Arizona, California, Idaho,
 Louisiana, Nevada, New Mexico, Washington, and Wisconsin), and name someone other than your spouse as
 Beneficiary, payment of benefits may be delayed or disputed unless your spouse also signs the beneficiary designation.

 Spouse Signature                                                                      Date
                                                                                                                  Month/Day/Year


                                                                           8

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 Insured Name R1(1      r           k) •           n \eu,         Social Security Number 3L13.                  •    (-10



 IMPORTANT NOTICE TO THE EMPLOYEE                                                                                   < en
Your eligibility for Life Insurance under the Group Insurance Policy issued by Life Insurance Company of North Amer*,
to the Policyholder has ceased. You are hereby notified that under the terms of the Group Policy, you may, subject
to the terms of the Policy, convert your all or part of your Life Insurance coverage under the said Policy to an individual
Policy. The individual Policy will not contain disability or supplemental benefits. Your application and premium payment
must be submitted within 31 days after the Termination Date, or within 15 days of the date of this notice, whichever date
is later, but in no event will an application be accepted beyond 91 days from said Coverage Termination Date. You must
attach the completed Employer Notice of Right to Convert form (if applicable) when you submit your application for
coverage.

I have read the above questions and answers, and hereby declare that they are complete and true, arid I agree that
this application shall form a part of any policy issued. I understand that I am eligible to convert an amount not to
exceed the amount of coverage in effect on the date my group life insurance terminated. I represent that the amount
of coverage applied for above does not exceed the amount I am eligible to convert. I further agree that while my
application to convert under the terms of the group policy is being reviewed, the Insurance Company may deposit the
payment submitted with the application. If I am later determined not to be eligible to convert my group insurance, the
sole obligation of the Insurance Company shall be to refund•the premium paid.

If any changes or corrections are made by the Insurance Company as noted below, acceptance by the Owner of a
policy to which a copy of the modified application is attached will ratify such changes or corrections.

Signature                                                            Date

    (Parent or Guardian signature if applicant is under age 18)




  Corrections and changes (Office Use Only)


Send the completed application, the Notice of Right to Convert form (if applicable) and premium payment made payable
to Life Insurance Company of North America to the address shown below. Payment should be made via check or _
money order. We cannot accept cash:

            NEBCO                                           NEBCO (Overnight Address only)
            P.O. Box 152501                  or             8500 Freeport Parkway South
            Irving, TX 75015-2501                           Suite 450
                                                            Irving, TX 75063




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